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                  Exhibit A
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                                                                                                              E-FILED IN OFFICE - RJ
                        Case 1:21-cv-04875-SEG Document 1-1 Filed 11/29/21 Page 8 of 20                     CLERK OF STATE COURT
                                                                                                        GWINNETT COUNTY, GEORGIA
                                  IN THE STATE COURT OF GWINNETT COUNTY                                           21-C-07412-S2
                                                                                                             10/12/2021 4:07 PM
                                             STATE OF GEORGIA                                               TIANA P. GARNER, CLERK


             LATOSHA LOVELACE                       )
                                                   )
             Plaintiff,                            )                         CIVIL ACTION
                                                   )
             v.                                    )                         FILE NO.       21-C-07412-S2
                                                   )
             AT HOME STORES, LLC                   )                         JURY TRIAL DEMANDED
                                                  )
             Defendant.                          )
             ___________________________________ )



                            PLAINTIFF DEMAND FOR TRIAL BY A JURY OF TWELVE

                     NOW COMES Plaintiff LATOSHA LOVELACE, (hereinafter “Lovelace”) in accordance
             with O.C.G.A. § 15-12-122, and demands a trial by a jury of 12 jurors selected as provided by law
             with respect to all issues in this action which are subject trial by a jury. Plaintiff makes this demand
             in writing prior to the commencement of the trial term and shows that the claim for damages in
             this action is greater than $25,000.




                    This 11th day of October, 2021.
                                                            Respectfully submitted,
                                                            THE CORDELE FIRM, INC.




                                                            _________________________________________
                                                            M. Cordele Rolle, Esq.
                                                            Georgia Bar No. 521133
                                                            Attorney for Plaintiff
                    5815 Live Oak Pkwy.
                    Suite A
                    Norcross, GA 30093
                    cordele@cordelefirm.com
                    Phone: 770.807.0062
                    Fax: 404.393.5900
                    Phone: 404.454.6454




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                                 Case 1:21-cv-04875-SEG Document 1-1 Filed 11/29/21 Page 10 of 20                                                             _Print Form

                        SHERIFF'S ENTRY OF SERVICE
                                   7                                                                               Superior Court CI           Magistrate Court 0
                        Civil Action No. 21 -C-07412-S2                                                            State Court                 Probate Court    0
                                                                                                                   Juvenile Court 0

                        Date Filed                                                                                 Georgia, Gwinnett                      COUNTY

                                                                                                                    Latosha Lovelace
                        Attorney's Address

                          M. Cordele Rolle, Esq.                                                                                                            Plaintiff

                         5855 Live Oak Pkwy. • Suite D                                                                      VS.

                         Norcross, GA 30093
                                                                                                                     AT HOME STORES LLC
                        Name and Address of Party to Served

                        At Home Stores LLC C/O Corporation                                                                                   I 11         7-Defendant
                                                                                                                                                                C)
                        Service Company @ 2 Sun Court Suite 400                                                                                                 H,<
                                                                                                                                                                r,'.
                        Peachtree Corners, GA, 30092
                                                                                                                                                               Defèndant
                                                                                  SHERIFF'S ENTRY OF SERVICE
                                                                                                                                                      '
                        PERSONAL
                        T have this day served the defendant                                                                                    personally with a copy
                0       of the within action and summons.

                        NOTORIOUS
                        I have this day served the defendant                                                                                                by leaving a
                        copy of the action and summons at his most notorious place abode in this County.

                0       Delivered same into hands of                                                                                              described as follows:
                         age, about               years; weight                   pounds; height               feet and             inches, domiciled at the residence of
                         defendant.

                        CORPORATION
                        Served the defendant
                                                                /4, 54x./. ifc                                                                               a corporation

                2"'íry leaving a copy of the within action and summons with
                     In charge of the office and place of doing business of said Corporation in this County.                                                   1=1
                                                                                                                                                              rica      G.
                                                                                                                                                                             1—
                                                                                                                                                                       t-T1 -r• •
                        TACK & MAIL


                0
                                                                                                                                                    et
                        I have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door of the preeses
                        designated in said affidavit and on the same day of such posting by depositing a true copy of same in the United States Mail,     Clen an .----1`22;
                             envelope properly addressed to the defendant(s) at the address shown in said summons, with adequate postage affixed theren containing nOii§eti,
                        to the defendant(s) to answer said summons at the place stated in the summons.                                                       D` '   —        -T-)
                                                                                                                                                                        C)
                                                                                                                                                                                  rr
                        NON EST                                                                                                                      cp
                                                                                                                                                     1-•
                                                                                                                                                                ••
                        Diligent search made and defendant
                LI           not to be found in the jurisdiction of this Court.


                        This jc.)_/     day of              -               , 2k21.

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                                   1:21-cv-04875-SEG Document 1-1 Filed 11/29/21 Page 11     Count 1 of 1
                                                                                         of 20
  By: alewis
                                           Gwinnett County Sheriffs Office
                                                     Cover Sheet
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  Sheriff #:              21030404

                          111111111111111
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                                   IllIII
 Person Served:           AT HOME STORES LLC
                          2 SUN COURT
                          SUITE 400
                          PEACHTREE CORNERS GA 30092
                          PHONE:


 Process Information:
  Date Received:          10/27/2021
 Assigned Zone:           30092                            Court Case #:   21-C-07412-52
 Expiration Date:                                          Hearing Date:
 Paper Types:             Summons COMPLAINT TO HOLD DEFENDANT ACCOUNTABLE FOR HARM CAUSED
 Notes/Alerts:

 Notes:




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                      IN THE STATE COURT OF GWINNETT COUNTY
                                 STATE OF GEORGIA

LATOSHA LOVELACE,

        Plaintiff,
   v.                                                  Civil Action File No: 21-C-07412-S2

AT HOME STORES, LLC,

        Defendant.

                        DEFENSES AND ANSWER OF DEFENDANT

        COMES NOW At Home Stores LLC, (incorrectly named as “At Home Stores, LLC” and

hereinafter “this Defendant”), Defendant in the above-styled civil action, and responds with these

Defenses and Answer to Plaintiff’s Complaint to Hold Defendant Accountable for Harm Caused

as follows:

                                       FIRST DEFENSE

        Plaintiff’s Complaint may fail to state a claim upon which relief can be granted.

                                      SECOND DEFENSE

        No alleged act or omission on the part of this Defendant supports a claim against this

Defendant pursuant to O.C.G.A. § 13-6-11.

                                       THIRD DEFENSE

        This Defendant breached no duty of care to Plaintiff.

                                      FOURTH DEFENSE

        No alleged breach of any duty by this Defendant was the proximate cause of Plaintiff’s

alleged damages.
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                                          FIFTH DEFENSE

       This Defendant shows that, even if it breached some duty to the Plaintiff (which it

denies), there intervened between such alleged breach of duty by this Defendant and the alleged

damage to Plaintiff, the unforeseen acts or omissions of other persons or entities such that any

claim against this Defendant is barred.

                                          SIXTH DEFENSE

       Defendant raises defenses based on Plaintiff’s own contributory and/or comparative

negligence.

                                     SEVENTH DEFENSE

       Plaintiff, by the exercise of ordinary care, could have avoided the consequences of any

alleged act or alleged failure to act by Defendant.

                                      EIGHTH DEFENSE

       Plaintiff’s claims against Defendant may be barred by Georgia’s workers compensation

law and the exclusive remedy doctrine.

                                          NINTH DEFENSE

       Defendant was Plaintiff’s statutory employer at the time of this alleged accident and

Plaintiff’s claim is barred by the exclusive remedy doctrine.

                                      TENTH DEFENSE

       Defendant raises the defenses available pursuant to O.C.G.A. § 51-12-33.

                                      ELEVENTH DEFENSE

       This Defendant responds to the numbered paragraphs of Plaintiff’s Complaint to Hold

Defendant Accountable for Harm Caused as follows:




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                              PRELIMINARY STATEMENT

       This Defendant denies the allegations contained in the Preliminary Statement of

Plaintiff’s Complaint to Hold Defendant Accountable for Harm Caused.

                            SUBJECT MATTER JURISDICTION

                                                 1.

       This Defendant admits the allegations contained in Paragraph 1 of Plaintiff’s Complaint

to Hold Defendant Accountable for Harm Caused.

                                 PERSONAL JURISDICTION

                                                 2.

       In response to Paragraph 2 this Defendant admits that it is a foreign limited liability

company authorized to transact business in Georgia with its principal office in Texas. Defendant

denies the remaining allegations in Paragraph 2 of Plaintiff’s Complaint to Hold Defendant

Accountable for Harm Caused.

                                             VENUE

                                                 3.

       In response to Paragraph 3 this Defendant admits that venue is proper in the State Court

of Gwinnett County based on the location of its registered agent, but denies any liability in this

matter and therefore denies the remaining allegations in Paragraph 3 of Plaintiff’s Complaint to

Hold Defendant Accountable for Harm Caused.

                                                 4.

       This Defendant admits that it was potentially subject to the jurisdiction of the State Court

of Gwinnett County, but has removed this case to federal court and therefore denies the




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remaining allegations of Paragraph 4 of Plaintiff’s Complaint to Hold Defendant Accountable for

Harm Caused as pled.

                                               5.

       This Defendant admits the allegations contained in Paragraph 5 of Plaintiff’s Complaint

to Hold Defendant Accountable for Harm Caused.

                                  THE OPERATIVE FACTS

                                               6.

       This Defendant reincorporates and realleges its responses to Paragraphs 1-5 as if fully

restated herein.

                                               7.

       This Defendant admits the allegations contained in Paragraph 7 of Plaintiff’s Complaint

to Hold Defendant Accountable for Harm Caused.

                                               8.

       This Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 8 of Plaintiff’s Complaint to Hold Defendant

Accountable for Harm Caused and, therefore, can neither admit nor deny same.

                                               9.

       This Defendant denies the allegations contained in Paragraph 9 of Plaintiff’s Complaint

to Hold Defendant Accountable for Harm Caused.

                                               10.

       This Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 10 of Plaintiff’s Complaint to Hold Defendant

Accountable for Harm Caused and, therefore, can neither admit nor deny same.




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                                                11.

       This Defendant denies the allegations contained in Paragraph 11 of Plaintiff’s Complaint

to Hold Defendant Accountable for Harm Caused.

                                                12.

       In response to Paragraph 12 this Defendant admits that Plaintiff reported her fall and that

an incident report was prepared. This Defendant is without knowledge or information sufficient

to form a belief as to the truth of the remaining allegations contained in Paragraph 12 of

Plaintiff’s Complaint to Hold Defendant Accountable for Harm Caused and, therefore, can

neither admit nor deny same.

                                                13.

       The allegations contained in Paragraph 13 of Plaintiff’s Complaint to Hold Defendant

Accountable for Harm Caused are denied.

                                                14.

       This Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 14 of Plaintiff’s Complaint to Hold Defendant

Accountable for Harm Caused and, therefore, can neither admit nor deny same.

                                                15.

       The allegations contained in Paragraph 15 of Plaintiff’s Complaint to Hold Defendant

Accountable for Harm Caused are denied.

                                                16.

       This Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 16 of Plaintiff’s Complaint to Hold Defendant

Accountable for Harm Caused and, therefore, can neither admit nor deny same.




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                                           COUNT I

          ORDINARY NEGLIGENCE IN VIOLATION OF ITS DUTY OF CARE

                                               17.

       This Defendant reincorporates and realleges its responses to Paragraphs 1-16 as if fully

restated herein.

                                               18.

       The allegations contained in Paragraph 18 of Plaintiff’s Complaint to Hold Defendant

Accountable for Harm Caused are denied as pled.

                                               19.

       The allegations contained in Paragraph 19 of Plaintiff’s Complaint to Hold Defendant

Accountable for Harm Caused are denied.

                                               20.

       The allegations contained in Paragraph 20 of Plaintiff’s Complaint to Hold Defendant

Accountable for Harm Caused are denied.

                                               21.

       The allegations contained in Paragraph 21 of Plaintiff’s Complaint to Hold Defendant

Accountable for Harm Caused are denied.

                                               22.

       The allegations contained in Paragraph 22 of Plaintiff’s Complaint to Hold Defendant

Accountable for Harm Caused are denied.

                                               23.

       The allegations contained in Paragraph 23 of Plaintiff’s Complaint to Hold Defendant

Accountable for Harm Caused are denied.




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                                           DAMAGES

                                                24.

       This Defendant reincorporates and realleges its responses to Paragraphs 1-23 as if fully

restated herein.

                                                25.

       This Defendant denies the allegations contained in Paragraph 25 of Plaintiff’s Complaint

to Hold Defendant Accountable for Harm Caused.

                                                26.

       This Defendant denies the allegations contained in Paragraph 26 of Plaintiff’s Complaint

to Hold Defendant Accountable for Harm Caused.

                                                27.

       This Defendant denies any liability in this matter, but is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations contained in

Paragraph 27 of Plaintiff’s Complaint to Hold Defendant Accountable for Harm Caused and,

therefore, can neither admit nor deny same.

                                                28.

       This Defendant denies the allegations contained in Paragraph 28 of Plaintiff’s Complaint

to Hold Defendant Accountable for Harm Caused.

                                     SPECIAL DAMAGES

                                                29.

       This Defendant reincorporates and realleges its responses to Paragraphs 1-28 as if fully

restated herein.




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                                                  30.

         This Defendant denies any liability in this matter, but is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations contained in

Paragraph 30 of Plaintiff’s Complaint to Hold Defendant Accountable for Harm Caused and,

therefore, can neither admit nor deny same.

                                                31.

         This Defendant denies that Plaintiff is entitled to the relief sought in subsections (c)

through (f) of the WHEREFORE portion of the Plaintiff’s Complaint.

                                                32.

         Any allegations of the Complaint to Hold Defendant Accountable for Harm Caused not

heretofore responded to are denied.

         WHEREFORE, having fully answered, this Defendant prays for judgment in its favor.

         THIS DEFENDANT DEMANDS TRIAL BY JURY ON ANY ISSUES THAT

REQUIRE JURY DETERMINATION.

         Respectfully submitted this 29th day of November, 2021.

                                                        DREW ECKL & FARNHAM, LLP



                                                        /s/ Stevan A. Miller
                                                        Stevan A. Miller
                                                        Georgia Bar No. 508375
303 Peachtree St. NE, Suite 3500
Atlanta, Georgia 30308
Telephone: (404) 885-1400
Facsimile: (404) 876-0992
E-mail: millers@deflaw.com
Attorneys for Defendant
12083831/1
15253-218180




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                      IN THE STATE COURT OF GWINNETT COUNTY
                                 STATE OF GEORGIA

LATOSHA LOVELACE,

         Plaintiff,
   v.                                                 Civil Action File No: 21-C-07412-S2

AT HOME STORES, LLC,

         Defendant.

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that I am counsel for Defendant, and that I have this day served a

copy of the forgoing Defenses and Answer of Defendant upon all parties to this matter by filing

with the Court’s Odyssey eFileGA system, which will automatically deliver electronic

notification to the following counsel of record:

                                      M. Cordele Roelle
                                      The Cordele Firm, Inc.
                                      5815 Live Oak Pkwy.
                                      Suite A
                                      Norcross, Georgia 30093

         This 29th day of November, 2021.

                                                    /s/ Stevan A. Miller
                                                    Stevan A. Miller
                                                    Georgia Bar No. 508375
303 Peachtree St. NE, Suite 3500
Atlanta, Georgia 30308
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